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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                     }
          Plaintiff,                          }
                                              }
               vs.                            }       Case No. 08-20062-01-CM
                                              }
CHANNING BURGESS                              }
         Defendant.                           }


                            MOTION TO SUPPRESS EVIDENCE

       NOW COMES Defendant, Channing Burgess, by and through counsel, Michael L. Harris

and moves the Court to suppress any and all evidence seized under authority of a search warrant

issued August 16, 2007 and executed at Defendant’s residence on August 17, 2007. Defendant

asserts that the warrant application failed to establish probable cause that Defendant’s home, and

home computer would contain evidence, or fruits and instrumentalities of criminal conduct.

Specifically, the warrant application established probable cause to believe that Defendant had

subscribed to a member restricted web site that contained, among other things, child

pornography, but failed to demonstrate either that Defendant had ever visited the site, viewed any

illegal materials contained at the site, or downloaded to his home computer any such illegal

materials. In other words, probable cause with respect to Defendant specifically, was based

entirely on his association with a web site that contained both legal and illegal materials.

Statement of Facts:

       On August 16, 2007 Jim Kanatzar, a special agent with Immigration and Customs

enforcement (ICE), applied for a search warrant from the Honorable David Waxse, United States


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Magistrate, to search Defendant’s residence and computer. The application included a request to

seize any computer or computer related equipment for subsequent search to determine whether

the computer contained visual depictions of minors engaged in sexually explicit conduct in

violation of Title 18 United States Code § 2252. The warrant application is 38 pages long, and

attached to this pleading. Certain information relating to addresses, phone numbers, or other

identifying data are deleted pursuant local court rule, but will be addressed where necessary.

       Paragraphs 4-12 of the application deal primarily with definitions, although paragraphs 9-

10 deal with how computers generally have changed the ways in which child pornography is

produced and distributed. For purposes of this motion, the most important of these paragraphs

deal with the internet protocol address (IP address) which is defined at paragraph 12e. The IP

address is a number that can be used to determine what specific computer accessed the internet at

any specific time. Sunflower Broadband, Defendant’s internet service provider, used static IP

addresses for its customers. In other words, Sunflower Broadband assigned a specific IP address

for each of its subscribers. In the case of Mr. Burgess, at the time of the warrant application, his

IP address as assigned by Sunflower Broadband was 24.124.88.184. (See paragraph 27 of the

warrant application)

       Paragraphs 13-18 detail the investigation by immigration and Customs Enforcement of a

web site known as “Home Collection”. ICE agents repeatedly accessed this web site, subscribing

to a variety of member restricted web sites operating under the “Home Collection” umbrella.

The agent would provide payment information, this was accomplished through an “iwest”

payment web site, that then linked to a PayPal account. Once the payment transaction was

completed, the agent subscriber would receive an e-mail acknowledging receipt of payment.


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This allowed access to the member restricted web site.

        Approximately 21 member restricted web sites were accessed in this manner. Some of

the web sites had names clearly associated with child pornography; such as “Spycam Lolitas”

“Lolivirgins”, and “Underage Home”. Others were less obvious such as “Video Shop CD 1",

“Home Collection”, “Sexy Angels” and “Desired Angels”. However, regardless of the name of

the member restricted web site, apparently all of the web sites contained at least some child

pornography.

       Paragraphs 19-30 deal specifically with Defendant Channing Burgess. A review of

PayPal account records showed that on December 18, 2006 an individual identifying himself as

Channing Burgess paid a subscription for the Sexy Angels web site. The payment is for $79.95,

however, it is not clear whether this was for one month, or some greater or lesser term. The IP

address for the computer used in this transaction was 66.45.139.124. (See paragraph 20 of

warrant application) This IP address is owned by Sunflower Broadband, but it is not alleged that

the 66.45.139.124 IP address was ever assigned to Channing Burgess by Sunflower Broadband.

(See paragraph 27 of warrant application)

       Paragraph 22 deals specifically with the content of the Home Collection/Sexy Angels

website as observed by ICE agents during the undercover investigation. Paragraph 22 states that

there were “approximately 9,422 image files in the “Photos” section and approximately 186

video files. Several of the images depicted lascivious displays of the minor females’ genitalia.”

(Warrant application at paragraph 22) Paragraph 22 does not disclose how many images are

encompassed within the term “several”. Nor does the application disclose what is contained in

the other sections of the web site such as “news”, “message board”, or “software”. Paragraph 22


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does describe three of the 9,422 images found in “Photo” section and the description does

describe a display of genitalia.

       Further investigation with Yahoo Inc., established that Defendant Channing Burgess had

an e-mail account with Yahoo that was active on December 18, 2006. Further the e-mail address

was the same as listed in the PayPal account information from the December 18, 2006

transaction. Other investigation confirmed Defendant’s address in Lawrence, Kansas to be the

same as reflected in the PayPal transaction records. However, there is no indication that IP

address 66.45.139.124 was ever assigned to Defendant at his address in Lawrence, or anywhere

else. There is no information contained in the warrant application to indicate Defendant ever

visited the “Home Collection/Sexy Angels” web site. There is certainly no information he ever

downloaded any content from the web site, whether legal or illegal. The warrant application

purports to establish probable cause based solely on his association with the web site; the proof

of the association is the paid subscription dated December 18, 2006 from IP address

66.45.139.124.

       Paragraphs 31-32 deal with the need to seize the computer in order to do a forensic

evaluation of the computer, and are not important for purposes of this motion. Paragraph 33

deals generally with the behaviors of persons involved with “sending and receiving child

pornography”. There is no information submitted that suggests Defendant is within the group of

people whose behaviors are generally as described.

Argument and Authority:

       The question in this case is whether an individual’s association with a particular location

(the member restricted web site) where both legal and illegal activity occurs (the member


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restricted web site contains both entirely legal visual images and child pornography) is enough to

establish the required probable cause particularized with respect to that individual. In Ybarra v.

Illinois, 444 U.S. 85 (1979) the Supreme Court determined that where “the standard is probable

cause, a search or seizure of a person must be supported by probable cause particularized with

respect to that person” 444 U.S. at page 91. The Supreme Court also stated that “mere

propinquity to others independently suspected of criminal activity, without more, give rise to

probable cause to search that person.” 444 U.S. at page 91. These holdings of the Ybarra

decision were reaffirmed by the Supreme Court in Maryland v. Pringle, 540 U.S. 366 (2003).

       This issue in the child pornography context has been the subject of extensive litigation

primarily relating to the “Candyman” cases originating in 2001. See United States v. Froman,

355 F.3d 882 (5th Cir.2002), United States v. Coreas, 419 F.3d 151 (2nd Cir. 2005), United States

v. Martin, 426 F.3d 68 (2nd Cir. 2005) petition for rehearing denied, 426 F.3d 83 (2nd Cir. 2005),

United States v. Shields, 458 F.3d (3rd Cir. 2006), United States v. Hutto, 84 Fed.Appx. 6,

2003WL22890954 (unpublished 10th Circuit decision dated December 9, 2003).

       The Ninth Circuit addressed this issue in the context of a subscription only web site

named “Lolitagurls.com” in United States v. Gourde 440 F.3d 1065 (9th Cir.2006). In the

Gourde case, Ninth Circuit, en banc, decided that subscribing to the Lolitagurls.com web site

was enough to support probable cause. The original Ninth Circuit panel had determined the

opposite. 382 F.3d 1003 (9th Cir. 2004).

       This issue has provoked sharp disagreement among some of the circuits deciding the

issue; for example compare United States v. Coreas, 419 F.3d 151 (2nd Cir. 2005) and United

States v. Martin, 426 F.3d 68, and 426 F.3d 83 (2nd Cir. 2005). The Coreas panel flatly


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concluded that the Martin case was wrongly decided. 419 F.3d 151 at page 159. The Ninth

Circuit en banc decision in Gourde had two separate dissenting opinions pointing out that other

decisions upholding the Candyman warrants had individualized facts beyond mere subscription;

for example, United States v. Froman, 355 F.3d 882 (5th Cir. 2002) included in the warrant

application that Mr. Froman identified himself with aliases announcing his perverted interest in

little girls, that is he used the names ‘Littlebuttsue” and “Littletitgirly”.

        In the Third Circuit decision in United States v. Shields, 458 F.3d 269 (3rd Cir. 2006), Mr

Shields had registered with multiple e-mail groups using the name “LittleLolitaLove”. The Third

Circuit found the use of this name very important is the probable cause analysis because it

bolstered the common sense decision that Mr. Shields used the Candyman groups to download

child pornography.

        In the Ninth Circuit case, United States v. Gourde, 440 U.S. 1065 (9th Cir. 2006), Mr.

Gourde subscribed to a web site named “Lolitagurls.com”. The first page of the site announced

that the site contained hard to find pictures, and contained the images of nude and partially

dressed girls, some prepubescent. In United States v. Martin, 426 F.3d 68 (2nd Cir. 2005) the

Second Circuit noted specifically that the e-group “girls12-16" had a welcome message which

unabashedly announced that the site’s essential purpose was to trade child pornography. As

indicated, in each case that has upheld these warrants, the application contained particularized

information about the individual beyond just the subscription to the web site.

        In the case before this Court, however, the warrant application contains no such

information. The main web site name, “Home Collection” is completely innocuous. The name of

the specific web site subscribed to by Defendant Channing Burgess, “Sexy Angels” has no


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specifically demonstrated relationship to child pornography. As such, this case is far different

than United States v. Gourde, 440 F.3d 1065 (9th Cir. 2006) and United States v. Martin, 426

F.3d 68 (2nd Cir. 2005). In fact, in the opinion on the Petition for Rehearing, the Martin panel

emphasized that the e-group “girls12-16" welcome message was an integral part of the probable

cause analysis. 426 F.3d at page 86.

       It is apparent from the warrant application that the “Sexy Angels” web site contained

completely legal photographs as well as child pornography. The application states that the site

contained 9,422 image files. It also contained a “Software “ section, a “Message Board” section

and a “News” section. The warrant application states only that “several” of the image files

contained child pornography. (warrant application paragraph 22) It is obvious that the balance of

the image files would be entirely legal, and protected by the First Amendment.

       Web site message boards and chat rooms are nothing more than computer communication

structures that allow people to associate with others with similar interests. Associational rights

are also protected by the First Amendment, unless a “large portion of the subject organization’s

activities are illegitimate.” United States v. Brown 951 F.2d 999 (9th Cir. 1991) Only when the

organization can be considered wholly illegitimate does mere association with the group indicate

criminal activity. Brown, supra, at page 1003. As Judge Logan stated in his concurring opinion

in Voss v. Bergsgaard, 774 F.2d 402 (10th Cir. 1985):

       Nevertheless, Zurcher v. Stanford Daily, 436 U.S. 547....(1978), requires
       “scrupulous exactitude-in both particularity of description and in establishment of
       probable cause-in search cases in which the First Amendment may protect the
       materials sought to be seized.

774 F.2d at page 408. (Emphasis in original)



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       In this case, the warrant application was issued based on a single subscription payment on

December 18, 2006 to a restricted web site that contained both legal and illegal content. The

computer from which the subscription transaction originated had an IP address of 66.45.139.124.

However, there is no demonstrated connection between Defendant’s home address, and a

computer with that IP address. Defendant’s internet provider, Sunflower Broadband, had

assigned Defendant the IP address of 24.124.88.184. The warrant application specifically

requested permission to search Defendant’s Lawrence, Kansas residence. (Warrant application at

paragraph 2)

       The restricted web site had an innocuous name, “Home Collection”. The “Sexy Angels”

web site name has no connotation specific to child pornography. There is no information that

Channing Burgess ever accessed the web site from his home computer, or downloaded any

content from the web site to his home computer. The United States Supreme Court in Zurcher v.

Stanford Daily, 436 U.S. 347 (1977) emphasized that in the search warrant context, two

conclusions must be supported by substantial evidence: (1) that the items sought are in fact

subject to seizure by virtue of a connection with criminal activity; and (2) and that the items to be

found are in the place to be searched. 436 U.S. at page 557 footnote 6. The warrant application

here fails with respect to both.

       The warrant application seeks permission to seize Defendant’s computer from

Defendant’s home, and search the computer for child pornography. For the reasons stated herein,

Defendant asserts that the warrant application fails to establish any reason to believe Defendant’s

home computer would contain images of child pornography. Hence, it is not subject to seizure.

Further, there is no evidence whatsoever to establish that any child pornography would be found


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in Defendant’s home. As indicated herein, the computer used to subscribe to the web site in

question had a different IP address than the IP address assigned to Defendant by Sunflower

Broadband.

       WHEREFORE, Defendant respectfully requests the Court schedule a hearing on this

matter and determine that the warrant in question was issued in violation of Defendant’s Fourth

Amendment rights, and suppress all evidence obtained under the warrant.

                                            Respectfully submitted,

                                            s/ Michael L. Harris
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 30, 2008, I electronically filed the foregoing with the clerk of

the court by using the CM/ECF system which will send a notice of electronic filing to the

following:

Kim Martin
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